            Case 1:25-cv-00612     Document 1   Filed 03/03/25   Page 1 of 28




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CENTER FOR BIOLOGICAL                         No. ________
DIVERSITY
1411 K Street NW, Suite 1300
Washington, D.C. 20005
                                              COMPLAINT FOR DECLARATORY
                   Plaintiff,
                                              AND INJUNCTIVE RELIEF
       v.

U.S. DEPARTMENT OF INTERIOR,
1849 C Street NW, Washington, DC
20240; DOUG BURGUM in his official
capacity as Secretary of Interior, 1849 C
Street NW, Washington, D.C. 20240;

U.S. BUREAU OF LAND
MANAGEMENT, 1849 C Street NW,
Washington, DC 20240; JOHN RABY, in
his official capacity as Acting Director of
BLM, 1849 C Street NW, Washington, DC
20240;

BUREAU OF OCEAN ENERGY
MANAGEMENT, 1849 C Street NW,
Washington, DC 20240; WALTER
CRUICKSHANK, in his official capacity
as Deputy Director of BOEM, 1849 C
Street NW, Washington, DC 20240;

U.S. FISH AND WILDLIFE SERVICE,
1849 C Street NW, Washington, DC
20240; PAUL SOUZA in his official
capacity as Acting Director of FWS, 1849
C Street NW, Washington, DC 20240;

NATIONAL PARK SERVICE, 1849 C
Street NW, Washington, DC 20240;
JESSICA BOWRON in her official
capacity as Acting Director of NPS, 1849
C Street NW, Washington, DC 20240;

U.S. DEPARTMENT OF
AGRICULTURE,
         Case 1:25-cv-00612       Document 1      Filed 03/03/25   Page 2 of 28




1400 Independence Ave SW, Washington,
DC 20250; BROOKE ROLLINS in her
official capacity as Secretary of
Agriculture, 1400 Independence Ave SW,
Washington, DC 20250;

ANIMAL AND PLANT HEALTH
INSPECTION SERVICE, 4700 River Rd,
Riverdale, MD 20737; MICHAEL
WATSON in his official capacity as
Administrator of APHIS, 4700 River Rd,
Riverdale, MD 20737;

U.S. FOREST SERVICE, 1400
Independence Ave SW, Washington, DC
20250; RANDY MOORE in his official
capacity as Chief of USFS, 1400
Independence Ave SW, Washington, DC
20250;

U.S. DEPARTMENT OF COMMERCE,
1401 Constitution Ave, NW, Washington,
DC 20230; HOWARD LUTNICK in his
official capacity as Secretary of Commerce,
1401 Constitution Ave, NW, Washington,
DC 20230;

NATIONAL OCEANIC AND
ATMOSPHERIC ADMINISTRATION,
1401 Constitution Avenue NW, Room
5128 Washington, DC 20230; NANCY
HANN in her official capacity as Acting
Administrator of NOAA, 1401 Constitution
Avenue NW, Room 5128 Washington, DC
20230;

U.S. DEPARTMENT OF
TRANSPORTATION, 200 New Jersey
Avenue, SE Washington, DC 20590;
SEAN DUFFY in his official capacity as
Secretary of Transportation, 200 New
Jersey Avenue, SE Washington, DC 20590;

FEDERAL AVIATION
ADMINISTRATION, 800 Independence
Ave SW, Washington, DC 20591; CHRIS

                                              2
            Case 1:25-cv-00612       Document 1       Filed 03/03/25      Page 3 of 28




 ROCHELEAU in his official capacity as
 Acting Administrator of the FAA, 800
 Independence Ave SW, Washington, DC
 20591;

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, 1200 Pennsylvania Ave NW,
 Washington, DC 20004; and LEE ZELDIN
 in his official capacity as Administrator of
 the Environmental Protection Agency,
 1200 Pennsylvania Ave NW, Washington,
 DC 20004.

                    Defendants.


                                       INTRODUCTION

       1.      This case concerns a flagrant violation of the Federal Advisory Committee Act

(“FACA”), which requires transparency, open public participation, and balanced representation

when the President or executive branch agencies establish or use non-federal bodies for the

purpose of seeking advice or recommendations. Here, President Trump issued an Executive

Order, the “DOGE EO,” establishing a “Department of Government Efficiency” (“DOGE”) by

renaming the United States Digital Service as the United States DOGE Service (“USDS”), which

is intended to drive large scale structural change in the scope and function of the executive

branch. As part of that effort, the DOGE EO requires all federal agencies to establish “DOGE

Teams,” in consultation with USDS, to work within the agencies to implement the President’s

“DOGE Agenda.” These DOGE Teams—which are “advisory committees” as that term is

defined under FACA—will be controlled by Elon Musk, whom President Trump engaged to

oversee DOGE’s efforts, creating the potential for massive conflicts of interest, including by

potentially undermining agencies investigating his companies, and providing opportunities to

benefit from government contracts and avoid regulatory requirements. However, Defendants

have failed to ensure that the DOGE Teams comply with the balance and openness requirements
                                                 3
             Case 1:25-cv-00612        Document 1      Filed 03/03/25     Page 4 of 28




of FACA, which is necessary to avoid conflicts of interest and ensure that the DOGE teams are

not being used for personal gain.

        2.      When passing FACA, Congress explained that “[o]ne of the great dangers in the

unregulated use of advisory committees is that special interest groups may use their membership

on such bodies to promote their private concerns.” H.R. Rep. No. 92-1017, at 6 (1972), as

reprinted in 1972 U.S.C.C.A.N. 3491, 3496. Indeed, the statute expressly provides that

“appropriate” steps must be taken to “assure that the advice and recommendations of the

advisory committee will not be inappropriately influenced by the appointing authority or by any

special interest . . . .” 5 U.S.C. § 1004(b)(3).

        3.      To accomplish these purposes, FACA requires advisory committees to file a

charter with the head of the agency to whom the committee reports setting forth, among other

information, the committee’s objectives and the scope of its activity, and a description of the

duties for which the committee is responsible and the authority for those duties. 5 U.S.C. §

1008(c). 5 U.S.C. § 1004 further states “the membership of the advisory committee is to be fairly

balanced in terms of the points of view represented and the functions to be performed by the

advisory committee,” which requires the development of a Membership Balance Plan. See 41

C.F.R. § 102-3.60(b)(3).

        4.      That is especially critical here given Mr. Musk’s control over DOGE’s efforts to

reform our government and his influence over the DOGE Teams that will be implementing the

“DOGE Agenda” from within the agencies, which includes across-the-board regulatory

recissions, administrative reductions of the federal work-force, and massive spending reductions

to the federal budget.




                                                   4
            Case 1:25-cv-00612       Document 1        Filed 03/03/25      Page 5 of 28




       5.      Mr. Musk and other billionaire and tech executives working with DOGE stand to

benefit personally and financially from the DOGE Teams’ work, including by securing

government contracts, slashing environmental rules that apply to their companies, and reducing

the government’s regulatory capacity and authority, including by targeting specific agencies,

statutes, and spending decisions that affect their businesses. Indeed, on February 19, 2025,

President Trump issued another Executive Order giving the DOGE Teams authority to rescind

regulations across the government, including those its deems are impeding technological

innovation and infrastructure development—recissions that Mr. Musk and others associated with

DOGE would clearly benefit from. It is therefore vital that the DOGE Teams’ actions—in

particular their efforts to dismantle essential regulatory protections intended to safeguard the

public health and the environment—be made transparent to the public.

       6.      Pursuant to the DOGE EO, all federal agencies must establish these DOGE

Teams, and reports indicate that DOGE Teams have already been established and are working

within various federal agencies. For example, Secretary Brooke Rollins recently confirmed that a

DOGE Team had been established at the U.S. Department of Agriculture, and reports have stated

that DOGE Teams have been actively working within the Environmental Protection Agency and

the Federal Aviation Administration.

       7.      Further, recent reporting indicates that Mr. Musk is using his influence over the

DOGE teams to rapidly consolidate control over large swaths of the federal government, sideline

career officials, gain access to sensitive databases, and dismantle agencies and regulatory

systems. Since President Trump assumed office—and without any congressional approval—the

world’s richest man has created an alternative power structure inside the federal government for

the purpose of controlling spending and pushing out employees. Meanwhile, Musk has been


                                                 5
            Case 1:25-cv-00612      Document 1       Filed 03/03/25      Page 6 of 28




named as a special government employee, which subjects him to less stringent rules on ethics

and financial disclosures regarding his role overseeing DOGE and the DOGE Teams.

       8.      Therefore, to ensure that Mr. Musk and others are not using the DOGE Teams to

promote their self-interest and unduly exert improper influence over essential agency functions,

it is crucial that Defendants comply with FACA in their establishment and utilization of the

DOGE Teams. However, Defendants have failed to provide the public with a charter and

Membership Balance Plan for the DOGE Teams, as required by FACA. Although FACA

requires that an advisory committee must make publicly available any and all documents made

available to or prepared for or by such committees, 5 U.S.C. § 1009(b), along with detailed

meeting minutes containing a complete and accurate description of matters discussed and

conclusions reached, 5 U.S.C. § 1009(c), Defendants have not provided any such documents or

meeting minutes to the public for the work of their DOGE Teams, in direct violation of FACA.

       9.      In the absence of compliance with FACA’s openness requirements, the public has

no way of ascertaining how or whether Defendants have taken appropriate steps to ensure that

the DOGE Teams will remain fairly balanced, and whether Mr. Musk has been using, or will use,

his control over the DOGE Teams to support the private interests of himself and the others that

stand to profit from DOGE’s work.

       10.     The Court should therefore require Defendants to immediately comply with

FACA’s requirements, including by taking all necessary steps to ensure the disclosure of all

materials that FACA requires be made available to the public.

                                JURISDICTION AND VENUE

       11.     Jurisdiction is conferred on this Court by 28 U.S.C. §§ 1331 and 1361 because

this action arises under federal law, specifically the Federal Advisory Committee Act, 5 U.S.C. §



                                                6
           Case 1:25-cv-00612            Document 1       Filed 03/03/25   Page 7 of 28




1001 et seq., and the Administrative Procedure Act (“APA”), 5 U.S.C. § 702. The Court has

jurisdiction under 28 U.S.C. § 1361 to issue mandamus relief against Defendants.

       12.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and (e)

because all Defendants reside in this district, where a substantial part of the acts and omissions

giving rise to this action took place.

                                              PARTIES

                                              Plaintiff

       13.     Plaintiff CENTER FOR BIOLOGICAL DIVERSITY (the “Center”) is a national

nonprofit organization that works through science, law, and policy to secure a future for all

species, great or small, hovering on the brink of extinction. The Center has over 79,000 members

worldwide. The Center has worked for decades to safeguard habitats for people, plants, and

animals and to maintain and increase protections for public health, public lands, communities,

and for a livable climate. The Center’s members value and benefit from rare species’ continued

existence in the wild and are harmed by industrial development and associated trends like global

climate change, water degradation, and habitat loss that threaten wild species’ survival and

recovery. The Center is headquartered in Tucson, Arizona, with offices in Washington, D.C.,

California, Florida, and Oregon.

       14.     The Center brings this suit on its own behalf and on behalf of its members, whose

interests are directly affected by DOGE’s activities and stated goals, which are across-the-board

regulatory recissions, administrative reductions of the federal workforce, and massive spending

reductions to the federal budget that will impede the ability of the government to enforce laws

and regulations intended to protect people and the environment, thereby harming the interests of

the Center and its members.


                                                 7
           Case 1:25-cv-00612         Document 1        Filed 03/03/25      Page 8 of 28




       15.     The Center has worked for decades to safeguard the public and the environment

from the ravages of industrial development and to defend the laws and regulations that protect

the environment. On information and belief—and consistent with President Trump’s February

19, 2025, Executive Order—the DOGE Teams working within the Defendant agencies seek to

target the statutes and regulations that the Center and its members rely on for environmental

protection—such as the National Environmental Policy Act, the Endangered Species Act, the

Marine Mammal Protection Act, and many other statutes and regulations overseen by

Defendants that protect the environment and public health—and to reduce the federal workforce

and budget in a manner that will impede regulatory oversight of activities that harm the

environment and public health by precluding the ability of Defendants to enforce such laws and

regulations. Plaintiff relies on these laws and regulations to achieve its organizational purposes,

including monitoring the impacts of agency actions on the environment and species; monitoring

legal compliance concerning environmental management; educating members, directors, staff,

and the public concerning species management and the state of the environment; and advocating

for policies that protect habitats and wildlife. The Center therefore has a direct interest in

the openness, accountability, integrity, balance, and legal legitimacy of DOGE and the DOGE

Teams working within the agencies.

       16.     The Center has brought many lawsuits on behalf of its members—some of which

are still pending—against all named Defendants for the enforcement of environmental laws and

regulations that are affected by the actions of the DOGE Teams. Any attempts by the DOGE

Teams to undermine these environmental laws and associated regulations, including by reducing

agency budgets and workforce and thereby undercutting Defendants’ ability to apply and enforce

such laws and regulations, would therefore delay, avoid, and undermine protections that are


                                                  8
           Case 1:25-cv-00612         Document 1        Filed 03/03/25      Page 9 of 28




necessary to secure Plaintiff’s well-established interests in protecting the public health, habitats,

and wildlife impacted by federal activities.

       17.     DOGE has already undertaken efforts that directly affect Plaintiff’s well-

established interests. For example, it was reported that Mr. Musk recently undertook efforts to

have the Department of the Interior (“DOI”) fire at least 2,300 employees across the Department.

This is already having significant negative impacts on the ability these agencies to protect

endangered species, manage wildlife refuges and other public lands, and protect resources held

in trust for the public. These actions will continue to cause severe harms to the Department’s

ability to conserve and manage the nation’s natural resources, which Plaintiff has worked for

decades to protect.

       18.     Mr. Musk has also publicly criticized the Fish and Wildlife Service (“FWS”)

claiming their Endangered Species Act (“ESA”) review process—including for his own

company SpaceX’s activities—was “unacceptable.” It has also been reported that Mr. Musk will

be targeting the Federal Aviation Administration’s (“FAA”) commercial spaceflight office for

budget cuts and other reform. The FAA is required to conduct NEPA review of Mr. Musk’s

SpaceX launches and operations to ensure that the environment, species, and their habitats are

not significantly adversely affected by Space X’s activities, and has proposed fines and grounded

SpaceX rockets after explosions. In response, Mr. Musk posted on X, “[t]he fundamental

problem is that humanity will forever be confined to Earth unless there is radical reform at the

FAA!” Plaintiff has active litigation against the FAA and SpaceX to protect the habitats and

wildlife surrounding the SpaceX facility in Texas, and therefore the DOGE Teams’ efforts to

undermine the FAA’s and FWS’s ability to apply and enforce laws such as NEPA or the ESA




                                                  9
           Case 1:25-cv-00612        Document 1       Filed 03/03/25      Page 10 of 28




review process would directly affect Plaintiff’s interests and ongoing efforts to protect the

environment from SpaceX’s activities.

       19.     The Center has also brought numerous lawsuits against Defendant agencies such

as the Bureau of Land Management (“BLM”), the National Park Service (“NPS”), the Bureau of

Ocean Energy Management (“BOEM”), the National Oceanic and Atmospheric Administration

(“NOAA”), the Forest Service, and FWS for delayed species listings and the approval of projects

or activities that threaten species and their habitats. The massive layoffs spearheaded by DOGE

and the DOGE Teams will make it drastically more difficult for these agencies to effectuate their

purposes and conduct the environmental reviews required for the preservation of threatened and

endangered species and their habitats, directly undermining Plaintiff’s central organizational

mission.

       20.     On February 6, 2025, the Center sent a letter to the Secretary of Agriculture, the

Secretary of Commerce, the Secretary of Interior, and the EPA Administrator objecting to the

lack of publicly available information about the DOGE Teams, and demanding that they provide

the charter, Balanced Management Plan, meeting documents and minutes, and other materials

that FACA requires to be made publicly available.

       21.     On February 14, 2025, the Center sent a similar letter to the Secretary of

Transportation objecting to the lack of publicly available information about the DOGE Teams,

and demanding that they provide the charter, Balanced Management Plan, meeting documents

and minutes, and other materials that FACA requires to be made publicly available.

       22.     In these letters the Center raised concerns about the potential for conflicts of

interest, and stated that the only way to ensure that the government is not inappropriately




                                                 10
          Case 1:25-cv-00612        Document 1       Filed 03/03/25     Page 11 of 28




influenced by DOGE Teams is to provide such documents, plans, and meeting minutes as

required by FACA.

        23.    The Center further stated that, in order to ensure that the DOGE Teams are fairly

balanced in terms of the points of view represented and to avoid undue influence by special

interests, it is imperative that the DOGE Teams include members representing the environmental

advocacy community’s interest in ensuring that the environment and public health are adequately

protected. Given the Center’s long history of working to safeguard the communities, wildlife,

and the regulatory systems that Defendants oversee and that may be affected by the DOGE

Agenda, the Center requested to be included on any DOGE Teams established within the

Defendant agencies, in order to provide input as to how they may pursue their missions to protect

wildlife, the environment, and public health more efficiently.

        24.    Defendants have not responded to the Center’s letters and have failed to make the

required documents and meeting minutes publicly available as FACA requires. Defendants’

failure to comply with FACA’s transparency and other requirements has harmed, and will

continue to harm, the Center and its members’ interests, including by depriving them of

information necessary to understand and respond to the DOGE Teams’ work and obviating their

ability to determine whether the DOGE Teams are being improperly influenced by special

interests. This injury would be remedied if this Court were to require Defendants to comply with

FACA.

                                           Defendants

        25.    Defendant UNITED STATES DEPARTMENT OF INTERIOR (“DOI”) is a

cabinet-level agency within the executive branch of the U.S. government that is responsible for

the conservation and management of the nation’s natural resources, including its public lands,


                                                11
         Case 1:25-cv-00612        Document 1       Filed 03/03/25     Page 12 of 28




endangered species, mineral estates, and cultural heritage. DOI spearheads several agencies

including the Bureau of Land Management (“BLM”), U.S. Fish and Wildlife Service (“FWS”),

the Bureau of Ocean Energy Management (“BOEM”), and the National Park Service (“NPS”).

DOI has been directed by the Office of the President to establish a DOGE Team for the

implementation of the DOGE agenda. DOI is responsible for ensuring all DOI DOGE Teams’

compliance with FACA.

       26.    Defendant DOUG BURGUM is the Secretary of Interior and is being sued in his

official capacity. As the “Agency Head” of DOI, Secretary Doug Burgum is responsible for

ensuring all DOI DOGE Teams’ compliance with FACA.

       27.    Defendant BUREAU OF LAND MANAGEMENT is an agency within the

Department of the Interior responsible for managing federal public lands and resources,

including federal onshore oil and gas resources and the development of those resources. As the

principal agency for the BLM DOGE Team, BLM is responsible for ensuring the BLM DOGE

Team’s compliance with FACA.

       28.    Defendant JOHN RABY is the Acting Director of BLM being sued in his official

capacity. As the “Agency Head” of BLM, John Raby is responsible for ensuring the BLM

DOGE Team’s compliance with FACA.

       29.    Defendant U.S. FISH AND WILDLIFE SERVICE manages and conserves fish,

wildlife, plants, and their habitats. As the principal agency for the FWS DOGE Team, FWS is

responsible for ensuring the FWS DOGE Team’s compliance with FACA.

       30.    Defendant PAUL SOUZA is the Acting Director of the U.S. Fish and Wildlife

Service being sued in [their] official capacity. As the “Agency Head” of FWS, Paul Souza is

responsible for ensuring the FWS DOGE Team’s compliance with FACA.


                                               12
         Case 1:25-cv-00612        Document 1       Filed 03/03/25     Page 13 of 28




       31.    Defendant BUREAU OF OCEAN ENERGY MANAGEMENT is responsible for

managing the development of U.S. offshore energy and mineral resources. As the principal

agency for the BOEM DOGE Team, BOEM is responsible for ensuring the BOEM DOGE

Team’s compliance with FACA.

       32.    Defendant WALTER CRUICKSHANK is the Deputy Director of the Bureau of

Ocean Energy Management being sued in his official capacity. As the “Agency Head” of

BOEM, Deputy Director Walter Cruickshank is responsible for ensuring the BOEM DOGE

Team’s compliance with FACA.

       33.    Defendant NATIONAL PARK SERVICE manages and preserves the natural and

cultural resources of U.S. national parks. As the principal agency for the NPS DOGE Team, NPS

is responsible for ensuring the NPS DOGE Team’s compliance with FACA.

       34.    Defendant JESSICA BOWRON is the Acting Director of the National Park

Service being sued in her official capacity. As the Acting “Agency Head” of NPS, Director

Jessica Bowron is responsible for ensuring the NPS DOGE Team’s compliance with FACA.

       35.    Defendant UNITED STATES DEPARTMENT OF AGRICULTURE (“USDA”)

is a cabinet-level agency within the executive branch of the United States government that

manages and regulates food, agricultural production, and natural resources. USDA spearheads

federal agencies like the Animal and Plant Health Inspection Service (“APHIS”) and the U.S.

Forest Service (“USFS”). USDA has been instructed by the Office of the President to establish a

DOGE Team for the implementation of the DOGE agenda. USDA is responsible for ensuring all

USDA DOGE Teams’ compliance with FACA.




                                               13
         Case 1:25-cv-00612        Document 1       Filed 03/03/25     Page 14 of 28




       36.    Defendant BROOKE ROLLINS is the Secretary of Agriculture and is being sued

in her official capacity. As the “Agency Head” of USDA, Secretary Brooke Rollins is

responsible for ensuring all USDA DOGE Teams’ compliance with FACA.

       37.    Defendant ANIMAL AND PLANT HEALTH INSPECTION SERVICE

(“APHIS”) is a federal agency within the USDA responsible for protecting the health of U.S.

agriculture and animals by managing wildlife and preventing the spread of pests and diseases

through oversight and regulation. As the principal agency for the APHIS DOGE Team, APHIS is

responsible for ensuring the APHIS DOGE Team’s compliance with FACA.

       38.    Defendant DR. MICHAEL WATSON is the Administrator of APHIS being sued

in his official capacity. As the “Agency Head” of APHIS, Administrator Dr. Michael Watson is

responsible for ensuring the APHIS DOGE Team’s compliance with FACA.

       39.    Defendant U.S. FOREST SERVICE (“Forest Service”) is a federal agency within

the USDA responsible for managing millions of acres of national forests. As the principal agency

for the Forest Service DOGE Team, the Forest Service is responsible for ensuring the Forest

Service DOGE Team’s compliance with FACA.

       40.    Defendant RANDY MOORE is the Chief of the Forest Service being sued in his

official capacity. As the “Agency Head” of Forest Service, Chief Randy Moore is responsible for

ensuring the Forest Service DOGE Team’s compliance with FACA.

       41.    Defendant UNITED STATES DEPARTMENT OF COMMERCE (“DOC”) is a

cabinet-level agency within the executive branch of the United States government responsible for

conserving most marine species and managing ocean resource use, as well as weather and

climate forecasting. DOC spearheads federal agencies like the National Oceanic and

Atmospheric Administration (“NOAA”). DOC has been instructed by the Office of the President


                                              14
          Case 1:25-cv-00612       Document 1       Filed 03/03/25     Page 15 of 28




to establish a DOGE Team for the implementation of the DOGE agenda. DOC is responsible for

ensuring all DOC DOGE Teams’ compliance with FACA.

        42.   Defendant HOWARD LUTNICK is Acting Secretary of Commerce and is being

sued in his official capacity. As the Acting “Agency Head” of DOC, Secretary Howard Lutnick

is responsible for ensuring all DOC DOGE Teams’ compliance with FACA.

        43.   Defendant NATIONAL OCEANIC AND ATMOSPHERIC ADMINISTRATION

(“NOAA”) is a federal agency within the Department of Commerce responsible for studying and

predicting changes in environment, managing coastal and marine resources, as well as providing

the public with essential environmental information. As the principal agency for the NOAA

DOGE Team, NOAA is responsible for ensuring the NOAA DOGE Team’s compliance with

FACA.

        44.   Defendant VICE ADMIRAL NANCY HANN is the Administrator of NOAA

being sued in her official capacity. As the “Agency Head” of NOAA, Administrator Vice

Admiral Nancy Hann is responsible for ensuring the NOAA DOGE Team’s compliance with

FACA.

        45.   Defendant UNITED STATES DEPARTMENT OF TRANSPORTATION

oversees and administers transportation programs, including aviation and surface transportation.

DOT spearheads several agencies including the Federal Aviation Administration (“FAA”) and

has been directed by the Office of the President to establish a DOGE Team for the

implementation of the DOGE agenda. DOT is responsible for ensuring all DOT DOGE Teams’

compliance with FACA.




                                               15
         Case 1:25-cv-00612        Document 1       Filed 03/03/25     Page 16 of 28




       46.    Defendant SEAN DUFFY is the Secretary of Transportation being sued in his

official capacity. As the “Agency Head” of DOT, Secretary Sean Duffy is responsible for

ensuring all DOT DOGE Teams’ compliance with FACA.

       47.    Defendant FEDERAL AVIATION ADMINISTRATION regulates civil aviation

and commercial space transportation in the United States including construction, operation,

safety, and air traffic control. As the principal agency for the FAA DOGE Team, FAA is

responsible for ensuring the FAA DOGE Team’s compliance with FACA.

       48.    Defendant CHRIS ROCHELEAU is the Acting Administrator of the Federal

Aviation Administration being sued in his official capacity. As the Acting “Agency Head” of the

FAA, Administrator Chris Rocheleau is responsible for ensuring the FAA DOGE Team’s

compliance with FACA.

       49.    Defendant UNITED STATES ENVIRONMENTAL PROTECTION AGENCY

(“EPA”) is an agency of the U.S. government that has been directed by the Office of the

President to establish a DOGE Team for the implementation of the DOGE agenda. EPA is

responsible for protecting human health and the environment through technical assistance,

environmental surveillance, inspection, and investigation. As the principal agency for the EPA

DOGE Team, EPA is responsible for ensuring the EPA DOGE Team’s compliance with FACA.

       50.    Defendant LEE ZELDIN is the Administrator of EPA and is being sued in his

official capacity. As the “Agency Head” of EPA, Administrator Lee Zeldin is responsible for

ensuring the EPA DOGE Team’s compliance with FACA.

                                  LEGAL BACKGROUND

                            The Federal Advisory Committee Act




                                               16
          Case 1:25-cv-00612         Document 1        Filed 03/03/25       Page 17 of 28




       51.     FACA was intended to address congressional concern with the growing number

and use of advisory committees. Congress found, among other things, that committees “should

be established only when they are determined to be essential” and that “Congress and the public”

should be kept abreast of their activities. 5 U.S.C. § 1002. “FACA’s principal purpose was to

establish procedures aimed at enhancing public accountability of federal advisory committees.”

See Public Citizen v. United States Dep't of Justice, 491 U.S. 440, 446 (1989); Washington Legal

Foundation v. United States Dep't of Justice, 691 F. Supp. 483, 490 (D.D.C. 1988) (the purpose

of FACA is to open to public scrutiny the manner in which the government obtains advice from

private individuals).

       52.     FACA therefore demands transparency and open public participation when the

executive branch establishes or uses non-federal bodies for the purpose of seeking advice or

recommendations. When passing FACA, Congress explained that “[o]ne of the great dangers in

the unregulated use of advisory committees is that special interest groups may use their

membership on such bodies to promote their private concerns.” H.R. Rep. No. 92-1017, at 6

(1972), as reprinted in 1972 U.S.C.C.A.N. 3491, 3496.

       53.     FACA applies to any “committee, board, commission, council, conference, panel,

task force, or other similar group,” that is “established or utilized to obtain advice or

recommendations for the President or one or more agencies or officers of the Federal

Government,” denominating such groups as “advisory committees.” 5 U.S.C. § 1001(2)(A).

Only those committees that are “composed wholly of full-time, or permanent parttime, officers

or employees of the Federal Government,” (i.e., not volunteers or temporary Special Government

Employees, such as Mr. Musk) fall outside the definition of “advisory committee” under the Act.

5 U.S.C. § 1001(2)(B).


                                                  17
          Case 1:25-cv-00612         Document 1        Filed 03/03/25      Page 18 of 28




       54.     An advisory committee “shall not meet or take any action until an advisory

committee charter has been filed” with the “head of the agency to whom any advisory committee

reports,” 5 U.S.C. § 1008(c). The advisory committee charter must also be filed with the Library

of Congress and the Secretariat. See 41 C.F.R. § 102-3.70(a)(3)–(4). The Charter must include,

among other information, “the committee’s objectives and the scope of its activity;” “a

description of the duties for which the committee is responsible, and, if the duties are not solely

advisory, a specification of the authority for the duties;” “the estimated annual operating costs

for the committee in dollars and person-years;” and “the estimated number and frequency of

committee meetings.” 5 U.S.C. § 1008(c)(2).

       55.     FACA also requires “the membership of the advisory committee to be fairly

balanced in terms of the points of view represented and the functions to be performed by the

advisory committee” and “contain appropriate provisions to assure that the advice and

recommendations of the advisory committee will not be inappropriately influenced by the

appointing authority or by any special interest, but will instead be the result of the advisory

committee’s independent judgment.” 5 U.S.C. § 1004; see also 41 C.F.R. §§ 102-3.30, 102-3.60.

       56.     This requires the development of a Membership Balance Plan. See 41 C.F.R. §

102-3.60(b)(3). The plan must “ensure that, in the selection of members for the advisory

committee, the agency will consider a cross-section of those directly affected, interested, and

qualified, as appropriate to the nature and functions of the advisory committee. Advisory

committees requiring technical expertise should include persons with demonstrated professional

or personal qualifications and experience relevant to the functions and tasks to be performed.” Id.

The Balanced Membership Plan must be uploaded to the FACA database when the agency files

the Federal advisory committee charter. Id.


                                                 18
          Case 1:25-cv-00612        Document 1       Filed 03/03/25        Page 19 of 28




       57.     Each advisory committee must also have a Designated Federal Officer (“DFO”)

designated by the agency head. 41 C.F.R. § 102-3.120. A committee’s DFO is responsible for

calling meetings of the committee, approving the agenda for all committee meetings, attending

meetings, adjourning any meeting when they determine it to be “in the public interest,” and

chairing the meeting when directed by the agency head. Id.

       58.     FACA demands transparency in the procedures and meetings of advisory

committees. An advisory committee must make publicly available “the records, reports,

transcripts, minutes, appendixes, working papers, drafts, studies, agenda, [and] other documents .

. . made available to or prepared for or by” the committee. 5 U.S.C. § 1009(b). These materials

must be released well before the relevant meeting, so that the public can “follow the substance of

the [committee’s] discussions.” Food Chem. News v. Dep’t of Health & Human Servs., 980 F.2d

1468, 1472 (D.C. Cir. 1992).

       59.     Each advisory committee’s meetings must be “open to the public,” 5 U.S.C. §

1009(a), 41 C.F.R. § 102-3.30, and “held at a reasonable time and in a manner or place

reasonably accessible to the public,” 41 C.F.R. § 102-3.140(a)(1). If an advisory committee

meeting is held via teleconference or videoconference, it still must be made accessible to the

public. 41 C.F.R. § 102-3.140(a)(5). Meetings must be noticed in the Federal Register at least

fifteen days before the meeting is to be held. 41 C.F.R. § 102-3.150(a).

       60.     FACA mandates that “[d]etailed minutes of each meeting of each advisory

committee shall be kept and shall contain a record of the persons present, a complete and

accurate description of matters discussed and conclusions reached, and copies of all reports

received, issued, or approved by the advisory committee,” 5 U.S.C. § 1009(c), and the committee

must make available copies of transcripts of advisory committee meetings to “any person,” id. §


                                                19
           Case 1:25-cv-00612        Document 1        Filed 03/03/25      Page 20 of 28




1010. See also 41 C.F.R. § 102-3.165 (describing how advisory committee meetings are to be

documented with meeting minutes); Id. at § 102-3.170 (“Timely access to advisory committee

records is an important element of the public access requirements of the Act.”).

       61.     FACA’s transparency obligations extend to a subcommittee or working group of

an advisory committee, which must also open its meetings and provide all records to the public if

it “makes recommendations directly to a Federal officer or agency, or if its recommendations

will be adopted by the parent advisory committee without further deliberations by the parent

advisory committee.” 41 C.F.R. § 102-3.145.

       62.     Although portions of meetings may be closed where the President determines that

closure is necessary pursuant to 5 U.S.C. § 552b(c) (the federal Sunshine Act), any such

determination must be made in a writing that sets forth the reasons for the conclusion. 5 U.S.C. §

1009(d).

                               The Administrative Procedures Act

       63.     The APA allows a person “suffering legal wrong because of agency action, or

adversely aggrieved by agency action” to seek judicial review of that action. 5 U.S.C. §§ 702-

704. Under the APA, a reviewing court may “compel agency action unlawfully withheld or

reasonably delayed,” id. § 706(1), and “hold unlawful and set aside agency action, findings, and

conclusions” that are “arbitrary, capricious, an abuse of discretion, or not otherwise in

accordance with law,” id. § 706(2). Because FACA does not provide its own standard or scope

of review, or a cause of action, this case is properly brought under the standards set forth in the

APA. See 5 U.S.C. § 701(a).

                                              Mandamus




                                                 20
          Case 1:25-cv-00612         Document 1       Filed 03/03/25      Page 21 of 28




       64.     Where a plaintiff can “demonstrate (1) a clear and indisputable right to relief, (2)

that the government agency or official is violating a clear duty to act, and (3) that no adequate

alternative remedy exists,” Am. Hosp. Ass’n v. Burwell, 812 F.3d 183, 189 (D.C. Cir. 2016),

“[t]he district courts shall have original jurisdiction” to compel performance of the duty by

issuing a writ of mandamus, 28 U.S.C. § 1361.


                                  FACTUAL BACKGROUND

       65.     On November 12, 2024, then President-elect Donald Trump issued a statement

announcing the establishment of the Department of Government Efficiency to be led by Elon

Musk and Vivek Ramaswamy to “provide advice and guidance from outside of the government”

and to “slash excess regulations, cut wasteful expenditures, and restructure Federal Agencies.”

       66.     Shortly after, on November 20, 2024, Mr. Musk and Mr. Ramaswamy issued a

statement as the heads of the Department of Government Efficiency, entitled “The DOGE Plan

to Reform Government,” which discusses their plans for across-the-board regulatory recissions,

administrative reductions of the federal work-force, and spending reductions to the federal

budget on the order of $2 trillion. Mr. Musk and Mr. Ramaswamy described themselves as

“entrepreneurs” and “outside volunteers, not federal officials or employees.”

       67.     On January 20, 2025, President Trump issued Executive Order titled

“Establishing and Implementing the President’s ‘Department of Government Efficiency’”

(“DOGE EO”), renaming the U.S. Digital Service the U.S. DOGE Service (“USDS”), and

establishing a new temporary organization known as the U.S. DOGE Service Temporary

Organization within the USDS.

       68.     The DOGE EO also provides for “DOGE Teams” to be established by each

Agency Head in consultation with USDS. These “DOGE Teams” are directed to coordinate with

                                                 21
          Case 1:25-cv-00612         Document 1       Filed 03/03/25    Page 22 of 28




the USDS Administrator, working from within the agencies to advise the Agency Heads on

implementing the President’s “DOGE Agenda.” On information and belief, Mr. Musk has been

working as a Special Government Employee in the Office of the White House and has direct

control over the work of DOGE and the DOGE Teams.

       69.     On February 19, 2025, President Trump issued an additional Executive Order

entitled “Ensuring Lawful Governance and Implementing the President’s ‘Department of

Government Efficiency’ Deregulatory Initiative,” which provides that Agency heads, in

coordination with the DOGE Team Leads, are to initiate a process to review and rescind agency

regulations deemed unlawful or that “harm the national interest” because they impede

technological innovation or infrastructure development.

       70.     DOGE and the DOGE Teams therefore have the potential to be used for personal

gain, and Mr. Musk and others associated with DOGE stand to benefit personally and financially

from the DOGE Teams’ work, including by securing government contracts, slashing

environmental rules and regulations that apply to their companies, and reducing the

government’s regulatory capacity and authority, including by targeting specific agencies,

statutes, and spending decisions that affect their businesses.

       71.     As an example, a former DOGE leader, Mr. Vivek Ramaswamy, stated that

DOGE intends to “carefully scrutinize” government loans made to competitors of Mr. Musk’s

company Tesla. Mr. Musk has also derided the regulatory authorities that oversee his businesses,

including EPA, FAA, and FWS, which Musk’s businesses have had conflicts with over

permitting and regulatory violations. Mr. Musk also has extensive contracts worth billions of

dollars through his own companies like SpaceX that are potentially set to expand under the new

administration, and which may be affected by the efforts of the DOGE Teams.


                                                 22
           Case 1:25-cv-00612       Document 1       Filed 03/03/25     Page 23 of 28




       72.     On information and belief, DOGE Teams are operating on both a Department and

agency level. Reports indicate that DOGE Teams have already been established within the

various Departments and federal agencies controlled by Defendants.

       73.     On information and belief, many DOGE Team members are not full-time or

permanent part-time government employees.

       74.     On information and belief, DOGE and the DOGE teams have been meeting with

agency staff and Congressional leaders since November 2024.

       75.     On information and belief, the DOGE Teams are responsible for recommending

the cutting of thousands of jobs at the Defendant agencies and are undertaking efforts to reduce

Defendants’ budgets and otherwise undermine their ability to enforce laws and regulations

intended to protect public health and the environment.

       76.     For example, President Trump’s January Executive Order titled “Declaring a

National Energy Emergency” directed the Secretary of Interior and the Secretary of Commerce

to work to remove “obstacles” to energy infrastructure, including ESA listings and streamlining

approval of energy projects such as mines and pipelines. On information and belief, DOGE

Teams are working to provide recommendations and otherwise assist in carrying out these

actions.

       77.     Recent reports also establish that DOGE team members entered NOAA

headquarters, inciting concerns over downsizing the agency, undermining its work to protect

communities and the environment, and gaining access to the agency’s data. Media reports have

stated that the DOGE Team intends to break up the agency and merge it with the Department of

Interior—creating confusion and making it more difficult for NOAA to perform its vital and life-

saving services like predicting and tracking extreme weather events.


                                               23
          Case 1:25-cv-00612         Document 1       Filed 03/03/25       Page 24 of 28




       78.     In February, an Associated Press article reported that Elon Musk, through his

control over the DOGE Teams, was “rapidly consolidating control over large swaths of the

federal government” and “created an alternative power structure inside the federal government

for the purpose of cutting spending and pushing out employees.”

       79.     Even though DOGE Teams will target regulations and spending that protect

public health and the environment, on information and belief the DOGE Teams do not and will

not consist of anyone representing the environmental or public health advocacy community. The

Center communicated this concern to Defendants in its February letters but received no response.

       80.     The New York Times has reported DOGE’s members communicate using the

messaging application Signal, which is widely used for its auto-delete functionality. Any use of

Signal by DOGE Teams threatens to irreparably deprive Plaintiffs and the American public of

records to which they are entitled, in direct violation of FACA.

       81.     DOGE Teams are tasked with and, on information and belief, are providing

advice and recommendations that impact millions of Americans, including members of the

Center, albeit with none of the transparency, oversight, or opportunity for public participation the

law requires. Defendants have provided no charter, Membership Balance Plans, meeting minutes

or other documents regarding the work of the DOGE Teams that FACA requires be made

publicly available.

                              FIRST CLAIM FOR RELIEF
Violation of the Administrative Procedures Act, 5 U.S.C. § 706 - Agency action unlawfully
 held or unreasonable delayed: Failure to Disclose Advisory Committee Materials and to
              Provide for Ongoing Public Access to Meetings and Documents

       82.     Plaintiff realleges, as if fully set forth herein, each and every allegation contained

in the preceding paragraphs.




                                                 24
          Case 1:25-cv-00612        Document 1       Filed 03/03/25      Page 25 of 28




       83.     The DOGE Teams that the DOGE EO required Defendants to establish and that

have been, and will be, working within the Defendants’ agencies are “advisory committees” as

that term is defined under FACA, 5 U.S.C. § 1001. Defendants are responsible for ensuring that

the DOGE Teams comply with the express requirements of FACA.

       84.     FACA demands transparency and ongoing public access when the executive

branch establishes or uses non-federal bodies for the purpose of seeking advice, so that special

interest groups may not use their membership on such bodies to promote their private concerns.

       85.     FACA therefore requires—prior to any meetings or actions being taken by the

DOGE Teams—that an advisory committee charter be filed with the head of the agency to whom

the advisory committee reports, along with a Balanced Management Plan. 5 U.S.C. §§ 1004,

1008(c); 41 C.F.R. § 102-3.60(b)(3).

       86.     FACA further requires that all meetings of the DOGE Teams be open to the

public, and that detailed minutes of each meeting be kept containing a record of the persons

present and a complete and accurate description of matters discussed and conclusions reached,

and that such meeting minutes be made publicly available along with all records, reports,

transcripts, minutes, appendixes, working papers, drafts, studies, agenda, or other documents

which were made available to or prepared for or by the DOGE Teams. 5 U.S.C. §§ 1009, 1010;

41 C.F.R. § 102-3.140.

       87.     On information and belief, the DOGE Teams have been actively operating within

the Defendants’ agencies to implement the President and Mr. Musk’s DOGE agenda.

       88.     By failing to file and provide the public with a committee charter and Balanced

Management Plan for the DOGE Teams, and by failing to make publicly available detailed




                                                25
           Case 1:25-cv-00612        Document 1       Filed 03/03/25       Page 26 of 28




meeting minutes and all documents prepared by and for the DOGE Teams, Defendants have

violated FACA.

         89.   Defendants’ failure to comply with FACA and, in particular, to ensure that the

required documents and records are made available to the public, constitutes final agency action

and is agency action unlawfully held or unreasonable delayed, in violation of the APA. See 5

U.S.C. § 706(1). A Court order is therefore warranted compelling Defendants to comply with

FACA. Id. (“The reviewing court shall . . . compel agency action unlawfully withheld or

unreasonably delayed.”).

                          SECOND CLAIM FOR RELIEF
Mandamus Relief, 28 U.S.C. § 1361 – Require Defendants to Disclose Advisory Committee
   Materials and to Provide for Ongoing Public Access to Meetings and Documents

         90.   Plaintiff realleges, as if fully set forth herein, each and every allegation contained

in the preceding paragraphs.

         91.   FACA requires that an advisory committee charter and a Balanced Management

Plan be filed prior to any meetings or actions being taken by the DOGE Teams, 5 U.S.C. §§

1004, 1008(c); 41 C.F.R. § 102-3.60(b)(3), and that detailed minutes of each meeting of each

DOGE Team be kept and made publicly available along with all documents which were made

available to or prepared for or by the DOGE Teams, 5 U.S.C. §§ 1009, 1010; 41 C.F.R. § 102-

3.140.

         92.   On information and belief, the DOGE Teams have been actively operating within

the Defendants’ agencies to implement the President and Mr. Musk’s DOGE agenda.

         93.   Defendants are responsible for ensuring that their DOGE Teams comply with the

express requirements of FACA yet have failed provide the public with a committee charter and




                                                 26
          Case 1:25-cv-00612        Document 1       Filed 03/03/25      Page 27 of 28




Balanced Management Plan and have not made any meeting minutes or other documents

prepared by and for the DOGE Teams publicly available, as FACA requires.

        94.    A writ of mandamus is therefore warranted to compel Defendants to provide

Plaintiffs with the information that FACA requires be made publicly available. See 28 U.S.C. §

1361.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court:

   a) Declare that the DOGE Teams operating within the agencies are advisory committees

        subject to the requirements of the Federal Advisory Committee Act, 5 U.S.C. § 1001 et

        seq., and that Defendants are responsible for ensuring compliance with FACA;

   b) Declare that the Defendants violated the APA and FACA by failing to file an advisory

        committee charter and Balanced Management Plan for the DOGE Teams, and by failing

        to make agendas, minutes, transcripts, and other documents required by FACA available

        to the public; and issue an order to require Defendants to provide such materials;

   c) Enjoin Defendants from meeting with or otherwise relying on the work of the DOGE

        Teams unless and until they are brought into full compliance with FACA;

   d) Issue an order of mandamus requiring Defendants to comply with the mandatory duties

        imposed by FACA.

   e) Grant other such relief as may be just and proper.



Respectfully submitted this 3rd day of March 2025.

                                                     /s/ Lauren A. Parker
                                                     Lauren A. Parker DC Bar No. 1670885
                                                     Center for Biological Diversity
                                                     1411 K Street NW, Suite 1300
                                                     Washington, DC 20005
                                                27
Case 1:25-cv-00612   Document 1      Filed 03/03/25      Page 28 of 28




                                     lparker@biologicaldiversity.org
                                     (202)-868-1008

                                     Jared Margolis (pro hac vice application
                                     pending)
                                     Center for Biological Diversity
                                     2852 Willamette St. # 171
                                     Eugene, OR 97405
                                     jmargolis@biologicaldiversity.org
                                     (802) 310-4054

                      Attorneys for Plaintiff Center for Biological Diversity




                                28
